
— This is an appeal by the State from a judgment of the Court of Claims, in favor of claimant for injuries sustained by him on the Mt. Van Hoevenberg bobsled run in the town of North Elba, Essex County, New York. The court found that negligence in the operation of the sled and failure to exercise due care in supervision of the runway combined to cause the accident. There was evidence that on one of the curves of the run the sled had come into contact with a gash in the ice wall, which caused it to lurch, that the brakeman was thrown from the sled and that claimant, missing the support of the brakeman, was thrown and tossed about until he fell off, sustaining the injuries. The evidence supports the decision of the court. Judgment unanimously affirmed, with costs to claimant-respondent. Present — Foster, P. J., Bergan, Coon. Halpern and Imrie, JJ.
